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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-02788-MEH
ACCESS 4 ALL INCORPORATED
and FABIOLA MUNOZ,
       Plaintiffs,
v.
CORSA INVESTMENT, LLC,
d/b/a ECONO LODGE DIA

       Defendant.


                 PLAINTIFFS’ UNOPPOSED MOTION TO ATTEND FINAL
                PRETRIAL CONFERENCE BY TELEPHONIC APPEARANCE


       Plaintiffs, ACCESS 4 ALL INCORPORATED and FABIOLA MUNOZ, by and through

undersigned counsel, hereby respectfully request the opportunity to participate telephonically in

the September 19, 2022, Final Pretrial Conference [D.E. 16].

       1.      Plaintiff’s counsel is scheduled to attend a federal administrative trial on September

19, 2022 through September 21, 2022, and the client in that matter is based in Miami, Florida.

       2.      Due to the scheduling conflict, Plaintiff’s counsel respectfully requests to appear

telephonically to the Final Pretrial Conference scheduled for September 19, 2022 at 10:30 a.m.

       3.      Appearing telephonically will allow Plaintiff’s counsel to appear for both matters

without negatively interfering with the representation of either client.

       4.      In addition, Plaintiff’s counsel’s ability to attend telephonically would not

negatively impact the Final Pretrial Conference.

       5.      None of the parties will be prejudiced by the request in this Motion.
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       6.      Plaintiff’s counsel conferred with counsel for Defendant who has advised that

Defendant does not oppose the relief sought in this Motion.

       WHEREFORE, Plaintiff respectfully requests the Court permit Plaintiff’s counsel to

participate telephonically in the September 19, 2022, Final Pretrial Conference in this matter.

Respectfully submitted this September 15, 2022.
                                               /s/ Anthony J. Perez
                                               ANTHONY J. PEREZ, ESQ.
                                               GARCIA-MENOCAL & PEREZ, P.L.
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                                               Denver, Colorado 80202
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                                               Attorney for Plaintiffs



                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via email

upon all parties of record on September 15, 2022.

                                             Respectfully Submitted,

                                             GARCIA-MENOCAL & PEREZ, P.L.
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                                             By: /s/ Anthony J. Perez
                                             ANTHONY J. PEREZ




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